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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
____________________________________
                                     )
STATE OF MISSOURI, et al.,          )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )  Civil Action No. 4:21-cv-1329
                                     )
JOSEPH R. BIDEN, JR., et al.,       )
                                     )
                  Defendants.        )
____________________________________)


                                            ORDER

       Upon consideration of Defendants’ unopposed motion for extension of time to respond to

the Complaint, IT IS HEREBY ORDERED that the Motion is GRANTED, and Defendants shall

answer or otherwise respond to the Complaint on or before June 1, 2022.



Dated this 29th day of April, 2022.                 _______________________________
                                                    UNITED STATES DISTRICT JUDGE




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